                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



GREAT NORTHERN RESOURCES, INC.,                    Case No.: 3:20-cv-01866-IM (Lead Case)
DYNAMIC SERVICE FIRE AND                           Case No.: 3:20-cv-02022-IM (Trailing Case)
SECURITY, LLC, and WALTER VAN
LEJA, on behalf of themselves and others
similarly situated,

        Plaintiffs,                                   JUDGMENT

 v.

KATY COBA, in her Official Capacity as
State Chief Operating Officer and Director
of the OREGON DEPARTMENT OF
ADMINISTRATIVE SERVICES;
OREGON DEPARTMENT OF
ADMINISTRATIVE SERVICES; THE
CONTINGENT; BLACK UNITED FUND
OF OREGON and DOES 1-10,

        Defendants.


       For the reasons stated in the Court’s Order, ECF 119, this Court gives final approval to

the settlement of Plaintiff Great Northern Resources, Inc.’s claims against all Defendants as fair,

reasonable, and adequate to the parties and the Class, including the amount of $197,813.60 in

attorney’s fees, $502 in costs, and $10,000 in the class representative service award to Plaintiff

Great Northern Resources, Inc.

       THEREFORE, IT IS ADJUDGED that:
        This action is dismissed with prejudice as to Class Members of the certified Settlement

Class, to which Rule 23(c)(2) notice was directed, defined as follows:

           All individuals, businesses, and nonprofits that submitted applications for funding
           to the Fund and/or The Contingent prior to December 9, 2020, and that have not
           indicated on their applications that they identify as Black, are a Black-owned
           business, or are a Black-focused organization.

The following individuals and entities are excluded from the Settlement Class: Nimalsiri

Pallebage Kapuralalage, Didina Fakashchuk, Anna Fakashchuk, and Cocina Cultura LLC, dba

Revolucion Coffee House.



       DATED this 24th day of June, 2021.

                                                    /s/ Karin J. Immergut
                                                    Karin J. Immergut
                                                    United States District Judge




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